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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION

 XIAFEN CHEN,                                  :       Case No. 1:19-cv-045
      Plaintiff,                               :
                                               :       Judge Timothy S. Black
 vs.                                           :
                                               :
 UNITED STATES OF AMERICA, et al.,             :
                                               :
         Defendants.                           :

                                 ORDER:
             (1) GRANTING DEFENDANT’S MOTION TO STRIKE; AND
       (2) DENYING DEFENDANT’S MOTION TO AMEND THE COMPLAINT

        This civil action is before the Court on Plaintiff’s amended complaint (Doc. 12)

and contemporaneous motion to amend the complaint as a matter of right (Doc. 13),

Defendant’s motion to strike the amended complaint (Doc. 15), and the parties’

responsive memoranda (Docs. 16, 19, 20).

        On April 26, 2019, Defendant filed a motion to dismiss Plaintiff’s initial

complaint, pursuant to Fed. R. Civ. P. 12(b)(6). (Doc. 8). On May 21, 2019, after the

deadline to respond to the motion to dismiss had lapsed, Plaintiff moved “to extend the

time to answer, move or otherwise plead in response to Defendant’s Motion to Dismiss,”

which motion Plaintiff represented to be unopposed. (Doc. 9). On May 22, 2019, the

Court GRANTED the extension of time by notation order, stating as follows:

               This civil action is before the Court on Plaintiff’s unopposed
               motion for an extension of time to respond to Defendant’s
               motion to dismiss. (Doc. 9). For good cause shown, that
               motion (Doc. 9) is GRANTED. Plaintiff shall respond to
               Defendant’s motion to dismiss (Doc. 8) on or before 6/7/19. IT
               IS SO ORDERED.
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(Not. Order, May 22, 2019).

       On June 7, 2019, Plaintiff filed an amended complaint (Doc. 12) and

contemporaneously filed a motion to amend the complaint as a matter of right (Doc. 13).

Plaintiff did not file a formal response to the motion to dismiss.

       Defendant moved to strike the amended complaint, stating that its agreement to

the extension of time—which requested extension was in and of itself untimely—was

premised on the belief that Plaintiff sought additional time to respond in opposition to the

motion to dismiss, not to amend the complaint as a matter of right. (Doc. 15). Plaintiff

responds to the motion to strike, arguing, in effect, that her motion for extension of time

encompassed any form of response, including an amended complaint. (Doc. 19). The

Court disagrees.

       As an initial matter, regardless of Plaintiff’s intent in moving for an extension of

time, the Court’s notation order granted leave to respond to the motion to dismiss, but

said nothing of extending the 21-days in which Plaintiff may file an amended pleading as

a matter of course, pursuant to Fed. R. Civ. P. 15(a)(1)(B).1 Moreover, the language of

Plaintiff’s motion for extension of time (i.e., “to answer, move, or otherwise plead”) is

misplaced in this context, and does not otherwise logically convey a request to extend

Plaintiff’s right to amend without leave of the Court. Indeed, neither the Court nor



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 Pursuant to Fed. R. Civ. P. 15(a)(1)(B), “[a] party may amend its pleading once as a matter of
course within … 21 days after service of a motion under Rule 12(b) ….” Thereafter, a party
“may amend its pleading only with the opposing party’s written consent or the court’s leave.”
Fed. R. Civ. P. 15(a)(2).

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Defendant understood the request as such. Finally, Plaintiff’s contemporaneous motion

to amend the complaint undermines her assertion that she definitively sought and/or

believed she was granted leave to amend as a matter of course. In short, Plaintiff did not

properly seek an extension of time to amend her complaint as a matter of course under

Rule 15(a)(1)(B), and the time for doing so has long passed.

       Accordingly, Defendant’s motion to strike the amended complaint (Doc. 15) is

GRANTED, Plaintiff’s amended complaint (Doc. 12) is STRICKEN, and Plaintiff’s

motion to amend the complaint (Doc. 13) is DENIED.

       However, the Court sua sponte establishes a deadline of September 18, 2019, by

which Plaintiff may file: (1) a motion for leave to file an amended complaint, pursuant to

Fed. R. Civ. P. 15(a)(2); and/or (2) a formal response in opposition to Defendant’s

motion to dismiss (Doc. 8).

       IT IS SO ORDERED.

Date: 8/28/2019                                                s/ Timothy S. Black
                                                           Timothy S. Black
                                                           United States District Judge




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